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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

ENERRA CORPORATION,                                                 Civil Action No. 3:23-cv-00194-L

                                  Plaintiff,

       vs.

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI,

                                  Defendants.


CONTI GROUP, LLC,

                                  Counter-Plaintiff,

       vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                                   Third-Party
                                   Defendants.



                                               PROTECTIVE ORDER

Proceedings and Information Governed.

         1. This Order (“Protective Order”) is made under Fed. R. Civ. P. 26(c). It governs any document,

 information, or other thing furnished by any party to any other party, and it includes any non-party who receives a

 subpoena in connection with this action. The information protected includes, but is not limited to: answers to

 interrogatories; answers to requests for admission; responses to requests for production of documents; deposition

 transcripts and videotapes; deposition exhibits; and other writings or things produced, given, or filed in this action

 that are designated by a party as "Confidential Information" or "Confidential Attorney Eyes Only

 Information" in accordance with the terms of this Protective Order, as well as to any copies, excerpts, abstracts,

 analyses, summaries, descriptions, or other forms of recorded information containing, reflecting, or

 disclosing such information.
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Designation and Maintenance of Information.

        2. For purposes of this Protective Order, (a) the "Confidential Information" designation means that the

document is comprised of trade secrets or commercial information that is not publicly known and is of technical or

commercial advantage to its possessor, in accordance with Fed. R. Civ. P. 26(c)(1)(G), or other information

required by law or agreement to be kept confidential and (b) the "Confidential Attorney Eyes Only" designation

means that the document is comprised of information that the producing party deems especially sensitive, which

may include, but is not limited to, confidential research and development, financial, technical, marketing, any

other sensitive trade secret information, or information capable of being utilized for the preparation or

prosecution of a patent application dealing with such subject matter. Confidential Information and Confidential

Attorney Eyes Only Information does not include, and this Protective Order does not apply to, information that

is already in the knowledge or possession of the party to whom disclosure is made unless that party is already

bound by agreement not to disclose such information, or information that has been disclosed to the public or

third persons in a manner making such information no longer confidential.

        3. Documents and things produced during the course of this litigation within the scope of paragraph 2(a)

above, may be designated by the producing party as containing Confidential Information by placing on each

page and each thing a legend substantially as follows:

                                  CONFIDENTIAL INFORMATION
                                 SUBJECT TO PROTECTIVE ORDER

        Documents and things produced during the course of this litigation within the scope of paragraph 2(b)

above may be designated by the producing party as containing Confidential Attorney Eyes Only Information by

placing on each page and each thing a legend substantially as follows:

                 CONFIDENTIAL ATTORNEY EYES ONLY INFORMATION
                         SUBJECT TO PROTECTIVE ORDER

      A party may designate information disclosed at a deposition as Confidential Information or Confidential

Attorney Eyes Only Information by requesting the reporter to so designate the transcript or any portion of the

transcript at the time of the deposition. If no such designation is made at the time of the deposition, any party

will have fourteen (14) calendar days after the date of the deposition to designate, in writing to the other parties

and to the court reporter, whether the transcript is to be designated as Confidential Information or Confidential
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Attorneys Eyes Only Information. If no such designation is made at the deposition or within this fourteen (14)

calendar day period (during which period, the transcript must be treated as Confidential Attorneys Eyes Only

Information, unless the disclosing party consents to less confidential treatment of the information), the entire

deposition will be considered devoid of Confidential Information or Confidential Attorneys Eyes Only

Information. Each party and the court reporter must attach a copy of any final and timely written designation

notice to the transcript and each copy of the transcript in its possession, custody or control, and the portions

designated in such notice must thereafter be treated in accordance with this Protective Order. It is the

responsibility of counsel for each party to maintain materials containing Confidential Information or

Confidential Attorney Eyes Only Information in a secure manner and appropriately identified so as to allow

access to such information only to such persons and under such terms as is permitted under this Protective Order.

Inadvertent Failure to Designate.

         4.     The inadvertent failure to designate or withhold any information as confidential or privileged

will not be deemed to waive a later claim as to its confidential or privileged nature, or to stop the producing

party from designating such information as confidential at a later date in writing and with particularity. The

information must be treated by the receiving party as confidential from the time the receiving party is notified in

writing of the change in the designation.

Challenge to Designations.

         5. A receiving party may challenge a producing party's designation at any time. Any receiving party

disagreeing with a designation may request in writing that the producing party change the designation. The

producing party will then have ten (10) business days after receipt of a challenge notice to advise the receiving

party whether or not it will change the designation. If the parties are unable to reach agreement after the

expiration of this ten (10) business day time-frame, and after the conference required under LR 7.1(a), the

receiving party may at any time thereafter seek an order to alter the confidential status of the designated

information. Until any dispute under this paragraph is ruled upon by the presiding judge, the designation will

remain in full force and effect, and the information will continue to be accorded the confidential treatment

required by this Protective Order.

Disclosure and Use of Confidential Information.

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        6. Information designated as Confidential Information or Confidential Attorney Eyes Only Information

may only be used for purposes of preparation, trial, and appeal of this action. Confidential Information or

Confidential Attorney Eyes Only Information may not be used under any circumstances for prosecuting any

patent application, for patent licensing, or for any other purpose.

        7. Subject to paragraph 9 below, Confidential Information may be disclosed by the receiving party only

to the following individuals, provided that such individuals are informed of the terms of this Protective Order:

(a) two (2) employees of the receiving party who are required in good faith to provide assistance in the conduct

of this litigation, including any settlement discussions, and who are identified as such in writing to counsel for

the designating party in advance of the disclosure; (b) two (2) in-house counsel who are identified by the

receiving party; (c) outside counsel for the receiving party; (d) supporting personnel employed by (b) and (c),

such as paralegals, legal secretaries, data entry clerks, legal clerks, and private photocopying services; (e)

experts or consultants; and (f) any persons requested by counsel to furnish services such as document coding,

image scanning, mock trial, jury profiling, translation services, court reporting services, demonstrative exhibit

preparation, or the creation of any computer database from documents.

        8. Subject to paragraph 9 below, Confidential Attorney Eyes Only Information may be disclosed by the

receiving party only to the following individuals, provided that such individuals are informed of the terms of this

Protective Order: (a) outside counsel for the receiving party; (b) supporting personnel employed by outside

counsel, such as paralegals, legal secretaries, data entry clerks, legal clerks, private photocopying services; (c)

experts or consultants; and (d) those individuals designated in paragraph 11(c).

        9. Further, prior to disclosing Confidential Information or Confidential Attorney Eyes Only Information

to a receiving party's proposed expert, consultant, or employees, the receiving party must provide to the

producing party a signed Confidentiality Agreement in the form attached as Exhibit A, the resume or

curriculum vitae of the proposed expert or consultant, the expert or consultant's business affiliation, and

any current and past consulting relationships in the industry. The producing party will thereafter have ten

(10) business days from receipt of the Confidentiality Agreement to object to any proposed individual. The

objection must be made for good cause and in writing, stating with particularity the reasons for the objection.

Failure to object within ten (10) business days constitutes approval. If the parties are unable to resolve any

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objection, the receiving party may apply to the presiding judge to resolve the matter. There will be no disclosure

to any proposed individual during the ten (10) business day objection period, unless the producing party waives

that period in writing to the receiving party, or if any objection is made, until the parties have resolved the

objection, or the presiding judge has ruled upon any resultant motion.

        10. Counsel is responsible for the adherence by third-party vendors to the terms and conditions of this

Protective Order. Counsel may fulfill this obligation by obtaining a signed Confidentiality Agreement in the

form attached as Exhibit B.

        11. Confidential Information or Confidential Attorney Eyes Only Information may be disclosed to a

person who is not already allowed access to such information under this Protective Order if:

        (a) the information was previously received or authored by the person or was authored or received by a

director, officer, employee or agent of the company for which the person is testifying as a designee under Fed.

R. Civ. P. 30(b)(6);

        (b) the designating party is the person or is a party for whom the person is a director, officer, employee,

consultant or agent; or

        (c) counsel for the party designating the material agrees that the material may be disclosed to the person.

        In the event of disclosure under this paragraph, only the reporter, the person, his or her counsel, the

presiding judge, and persons to whom disclosure may be made and who are bound by this Protective Order, may

be present during the disclosure or discussion of Confidential Information. Disclosure of material pursuant to

this paragraph does not constitute a waiver of the confidential status of the material so disclosed.

Non-Party Information.

        12. The existence of this Protective Order must be disclosed to any person producing documents,

tangible things, or testimony in this action who may reasonably be expected to desire confidential treatment for

such documents, tangible things, or testimony. Any such person may designate documents, tangible things, or

testimony confidential pursuant to this Protective Order.

Filing Documents With the Court.

        13. If any party wishes to submit Confidential Information to the court, the submission must be filed

only in a sealed envelope bearing the caption of this action and a notice in the following form:

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                                     CONFIDENTIAL INFORMATION
                                                    [caption]
                                 This envelope, which is being filed under seal,
                               contains documents that are subject to a Protective
                            Order governing the use of confidential discovery material.
                                                 No Prejudice.

         14. Producing or receiving Confidential Information, or otherwise complying with the terms of this

Protective Order, will not (a) operate as an admission by any party that any particular Confidential Information

contains or reflects trade secrets or any other type of confidential or proprietary information; (b) prejudice the

rights of a party to object to the production of information or material that the party does not consider to be

within the scope of discovery; (c) prejudice the rights of a party to seek a determination by the presiding judge

that particular materials be produced; (d) prejudice the rights of a party to apply to the presiding judge for further

protective orders; or (e) prevent the parties from agreeing in writing to alter or waive the provisions or protections

provided for in this Protective Order with respect to any particular information or material.

Conclusion of Litigation.

         15. Within sixty (60) calendar days after final judgment in this action, including the exhaustion of all

appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement agreement, each party or other

person subject to the terms of this Protective Order is under an obligation to destroy or return to the producing

party all materials and documents containing Confidential Information or Confidential Attorney Eyes Only

Information, and to certify to the producing party that this destruction or return has been done. However, outside

counsel for any party is entitled to retain all court papers, trial transcripts, exhibits, and attorney work provided

that any such materials are maintained and protected in accordance with the terms of this Protective Order.

Other Proceedings.

         16. By entering this Protective Order and limiting the disclosure of information in this case, the presiding

judge does not intend to preclude another court from finding that information may be relevant and subject to

disclosure in another case. Any person or party subject to this Protective Order who may be subject to a motion

to disclose another party's information designated Confidential pursuant to this Protective Order must promptly

notify that party of the motion so that the party may have an opportunity to appear and be heard on whether that

information should be disclosed.



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 Remedies.

          17. It is Ordered that this Protective Order will be enforced by the sanctions set forth in Fed. R. Civ. P.

37(b) and any other sanctions as may be available to the presiding judge, including the power to hold parties orother

violators of this Protective Order in contempt. All other remedies available to any person injured by a violation of

this Protective Order are fully reserved.

          18. Any party may petition the presiding judge for good cause shown if the party desires relief from a

 term or condition of this Protective Order.



Date:




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                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

ENERRA CORPORATION,                                                 Civil Action No. 3:23-cv-00194-L

                                  Plaintiff,                        Honorable Sam A. Lindsay

       vs.                                                          JURY TRIAL DEMANDED

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI, ,

                                  Defendants.


CONTI GROUP, LLC,

                                  Counter-Plaintiff,

       vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                                   Counter-Defendants.


                                CONFIDENTIALITY AGREEMENT FOR EXPERT,
                                CONSULTANT OR EMPLOYEES OF ANY PARTY

I hereby affirm that:

Information, including documents and things, designated as "Confidential Information," or "Confidential Attorney Eyes

Only Information," as defined in the Protective Order entered in the above-captioned action ("Protective Order"), is being

provided to me pursuant to the terms and restrictions of the Protective Order.


I have been given a copy of and have read the Protective Order.

I am familiar with the terms of the Protective Order and I agree to comply with and to be bound by its terms.

I submit to the jurisdiction of this Court for enforcement of the Protective Order.

I agree not to use any Confidential Information or Confidential Attorney Eyes Only Information disclosed to me pursuant

to the Protective Order except for purposes of the above-captioned litigation and not to disclose any of this information

to persons other than those specifically authorized by the Protective Order, without the express written consent of the

party who designated the information as confidential or by order of the presiding judge. I also agree to notify any

stenographic, clerical or technical personnel who are required to assist me of the terms of this Protective Order and of its
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binding effect on them and me.

I understand that I am to retain all documents or materials designated as or containing Confidential Information or

Confidential Attorney Eyes Only Information in a secure manner, and that all such documents and materials are to

remain in my personal custody until the completion of my assigned duties in this matter, whereupon all such

documents and materials, including all copies thereof, and any writings prepared by me containing any Confidential

Information or Confidential Attorney Eyes Only Information are to be returned to counsel who provided me with such

documents and materials.
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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

ENERRA CORPORATION,                                                Civil Action No. 3:23-cv-00194-L

                                  Plaintiff,                       Honorable Sam A. Lindsay

        vs.                                                        JURY TRIAL DEMANDED

CONTI GROUP LLC, PLASTIKGAS LLC,
ROBERTO CONTI, JULIE CONTI, JORDAN
CONTI, ,

                                  Defendants.


CONTI GROUP, LLC,

                                  Counter-Plaintiff,

        vs.

ENERRA CORPORATION, SERGIO PEREZ,
MARK MILLS AND MICHAEL BROWN,

                                   Counter-Defendants.




                   CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS

 I hereby affirm that:

 Information, including documents and things, designated as "Confidential Information," or "Confidential

 Attorney Eyes Only Information," as defined in the Protective Order entered in the above-captioned action

 (“Protective Order"), is being provided to me pursuant to the terms and restrictions of the Protective Order.

 I have been given a copy of and have read the Protective Order.

 I am familiar with the terms of the Protective Order and I agree to comply with and to be bound by its terms.

 I submit to the jurisdiction of this Court for enforcement of the Protective Order.

 I agree not to use any Confidential Information or Confidential Attorney Eyes Only Information disclosed to me

 pursuant to the Protective Order except for purposes of the above-captioned litigation and not to disclose any of

 this information to persons other than those specifically authorized by the Protective Order, without the express

 written consent of the party who designated the information as confidential or by order of the presiding judge.
